Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 1 of 8 Page ID #:268


    1   STEVEN H. HANEY (SBN 121980)
        GREGORY L. YOUNG (SBN 226293)
    2   HANEY & YOUNG LLP
        1055 West Seventh Street, Suite 1950
    3   Los Angeles, California 90017
        Telephone: (213) 228-6500
    4   Facsimile: (213) 228-6501
        Email:       shaney haneyyoung.com
    5                gyoung haneyyoung.com
    6
        Attorneys for Tom Schmidt
    7   Heather Valentin
    8                              UNITED STATES DISTRICT COURT
    9                            CENTRAL DISTRICT OF CALIFORNIA
   10   TOM SCHMIDT, an individual,                    CASE NO.: 2:16-cv-09368-DSF-AGR
   11         Plaintiff,                               1.    NOTICE OF MOTION AND
                                                             MOTION TO WITHDRAW AS
   12   VS.                                                  COUNSEL;
   13   SHERRI BALDY, an individual; and               2.    DECLARATION OF STEVEN H.
        DOES 1 through 10, inclusive,                        IN SUPPORT THEREOF; AND
   14
              Defendants.                              3.    [PROPOSED] ORDER
   15
   16   SHERRI BALDY, an individual,                   Date: February 26, 2018
                                                       Time: 1:30 pm.
   17         Counterclaim Plaintiff,                  Dept. 7D (1' St. Courthouse)
                                                       Judge: Hon. Dale S. Fischer
   18   VS.

   19   TOM SCHMIDT, an individual; and
        DOES 1 through 10, inclusive,
   20                                                  Filing Date: December 19, 2016
              Counterclaim Defendants.
   21
   22   SHERRI BALDY, an Individual,
   23                      Third Party Plaintiff,
   24   VS.
   25   HEATHER VALENTIN, an Individual;
        and DOES 1-10,
   26
                       Third Party Defendants.
   27
   28


                                             MOTION TO WITHDRAW
Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 2 of 8 Page ID #:269


    1          TO THIS HONORABLE COURT AND THE PARTIES AND COUNSEL OF
    2   RECORD:
    3          PLEASE TAKE NOTICE that Haney & Young LLP, counsel for Plaintiff Tom
    4   Schmidt and Third Party Defendant, Heather Valentin (collectively called "Clients") will
    5   move the Court to withdraw as counsel from the above referenced matter on February 26,
    6   at 1:30 p.m. in Courtroom 7D of the United States District Court, located at 350 West
    7   First Street, Los Angeles, California 90012, the Honorable Dale S. Fischer presiding.
    8          This motion is brought on the following grounds:
    9          1.     Clients have failed to pay their counsel and breached their Retainer
   10                Agreement in a number of ways to be discussed in concert if necessary.
   11          2.     Client and Clients' counsel have irreconcilable differences protected by the
   12                 attorney-client privilege to be disclosed in camera if necessary; and
   13          3.     Relief of counsel will not cause delay in the prosecution of the action.
   14          This motion is supported by the attached Memorandum of Points and Authorities,
   15   the Declaration of Steven H. Haney, and any oral argument that may be offered at the
   16   time of hearing.
   17
   18   Dated: January /9, 2018                          HANEY & YOUNG, LLP
   19
   20                                                     teven . aney
                                                         Attorneys for Plaintiff Toni    hmidt and
   21                                                    Specially Appearing Third
                                                         Defendant Heather Valentin
   22
   23
   24
   25
   26
   27
   28


                                                   2
                                          MOTION TO WITHDRAW
Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 3 of 8 Page ID #:270


     1                    MEMORANDUM OF POINTS AND AUTHORITIES
    2    I. INTRODUCTION
    3           On March 31, 2017, the Clients retained Haney & Young LLP (the "Firm") as
     4   counsel to represent them in a matter against Defendant Sherri Baldy. (Haney Decl. ¶ 2)
     5          Once the litigation commenced, the Clients have incurred significant fees and
    6    costs, but have failed to pay or reimburse the Firm for advancing those costs. Requests for
    7    reasonable assurances for payment have been ignored. (Haney Decl. ¶ 3) Clients are in
    8    breach of the Retainer Agreement, for this and other reasons to be disclosed in camera if
    9    necessary. As a result, the Firm brings this motion before the Court to withdraw as
   10    counsel. (Haney Decl. ¶ 4)
   11           Clients' counsel also brings forth this motion to be relieved as counsel due to
   12    irreconcilable differences protected by attorney client privilege to be described to the
   13    Court, in camera, if necessary. (Haney Decl. ¶ 5).
   14    II. ARGUMENT
   15           A.     CLIENTS HAVE FAILED TO PAY OR OTHERWISE HONOR THE
   16                  RETAINER AGREEMENT WITH THE FIRM
   17           Clients have failed to pay the fees and costs as required by the Retainer
   18    Agreement. Clients have breached other provisions which the Firm will disclose, in
   19    camera, on a "need to know" basis.
   20           B.     CLIENTS AND CLIENTS' COUNSEL HAVE IRRECONCILABLE
   21                  DIFFERENCE S
   22           Clients and their counsel of record, Haney & Young LLp have irreconcilable
   23    differences protected by the attorney/client privilege that may be described to the Court in
   24    camera upon the Court's request. (Haney Decl. 116) There is a literal impossibility for
   25    Clients' counsel to prosecute on behalf of Clients for confidential reasons relating to
   26    unresolvable differences between Clients and their counsel.
   27    //
   28    //

                                                    3
                                           MOTION TO WITHDRAW
Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 4 of 8 Page ID #:271


    1           C. RELIEF OF COUNSEL WILL NOT CAUSE DELAY IN THE

    2                  PROSECUTION OF THE ACTION

    3           Set forth in the Declaration of Steven H. Haney, the case has been referred to

    4   ADR, to be completed no later than September 11, 2018 with a trial date of December 4,

    5   2018.

    6   III. CONCLUSION

    7           For the reasons articulated herein, the Firm respectfully requests that its motion be

    8   granted and Haney & Young LLP be relieved as counsel.

    9
   10   Dated: January/9
                       , 2018                              HANEY & YOUNG, LLP

   11
                                                           teven " . aney
   12                                                     Gregory L. Young
                                                          Attorneys for Plaintiff To : chmidt and
   13                                                     Specially Appearing Third Party
                                                          Defendant, HEATHER VALENTIN
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                    4'
                                           MOTION TO WITHDRAW
Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 5 of 8 Page ID #:272


     1                        DECLARATION OF STEVEN H. HANEY

     2          I, Steven H. , declare as follows:

     3          1.     I am an attorney at law qualified to practice before all Courts in the State of

     4   California. I am a partner in the law firm of Haney and Young LLP and have personal

     5   knowledge of the following facts and, if called as a witness, could and would testify

     6   competently thereto under oath.

     7          2.     On March 31, 2017, Clients retained Haney & Young LLP (the "Firm") as

     8   counsel to represent them in a matter against Defendant Sherri Baldy.

     9          3.     Once the litigation commenced, the Clients have incurred significant fees

   10    and costs, but have failed to pay or reimburse the Firm for advancing those costs.

   11    Requests for reasonable assurances for payment have been ignored.

   12           4.     Clients are in breach of the Retainer Agreement, for this and other reasons

   13    to be disclosed in camera if necessary. As a result, the Firm brings this motion before the

   14    Court to withdraw as counsel

   15           5.     The Firm also brings forth this motion to be relieved as counsel due to

   16    irreconcilable differences protected by attorney client privilege to be described to the

   17    Court, in camera, if necessary.

   18           6.     Clients and the Firm have irreconcilable differences protected by the

   19    attorney/client privilege that may be described to the Court in camera upon the Court's

   20    request.

   21           7.     Clients will be served notice of this Motion to Withdraw on January 22,

   22    2018, via First Class U.S. Mail, and Federal Express.

   23           8.     It has been verified through correspondence that the Clients' principal

   24    addresses are as follows:

   25          Tom Schmidt

   26          4117 N. 45th Place, Apt. 4

   27          Phoenix, AZ 85018

   28

                                                      5
                                            MOTION TO WITHDRAW
Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 6 of 8 Page ID #:273


     1          Heather Valentin

     2          50305 S. I 94 Service Drive Apt 3

     3          Belleville MI 48111-2342

     4          9.     Clients have been advised that all future documents will be served or sent

     5   to the above noted address until changed by appropriate notice of substitution of attorney.

     6   A true and correct copy of the notice is attached hereto as Exhibit "1".

     7          10.    Defendant has been further advised of any and all approaching deadlines

     8   and hearings, including the time within which any unserved parties must be served. A

     9   true and correct copy of the notice is attached hereto as Exhibit "1".

    10          11.    Clients have also been notified that any individual appearing pro se will be

    11   required to comply with this Court's standing orders, this District's Local Rules, the

   12    Federal Rules of Civil Procedure and all other Federal Rules.

   13           I declare under penalty of perjury under the laws of the United States of America

   14    that the foregoing is true and correct, and that this Declaration was executed on this

   15      IT day of January, 2018 at Los Angels, California,

   16
   17
                                                           Steven H. Haney
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27

   28

                                                       6
                                           MOTION TO WITHDRAW
Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 7 of 8 Page ID #:274




            Exhibit "1"
Case 2:16-cv-09368-DSF-AGR Document 41 Filed 01/19/18 Page 8 of 8 Page ID #:275

                                      HANEY & YOUNG LLP
                                              ATTORNEYS
                                 1055 WEST SEVENTH STREET, SUITE 1950
                                                                                TEL: (213) 228-6500
   STEVEN HANEY, ESQ.             LOS ANGELES, CALIFORNIA 90017                 FAX: (213) 2213-6501




                                            January 18, 2018

  Via U.S. Mail and Email

   Tom Schmidt                                       Heather Valentin
   4117 N. 45th Place, Apt. 4                        50305 S. I 94 Service Drive Apt 3
   Phoenix, AZ 85018                                 Belleville MI 48111-2342


          Re:     Tom Schmidt v. Sherri Ann Baldy, et al

  Dear Clients:

           This letter serves to notify you that we have filed a Motion to Withdraw as Counsel. As a
  result, all future documents will be sent to the above addresses unless you provide us with a
  Substitution of Attorney.

          We also include a calendar with the upcoming dates in the case:

          1.      Discovery Cut-off:            July 12, 2018;

          2.      Expert Witness Exchange:
                  Initial:                      June 26, 2018;
                  Rebuttal:                     July 16, 2018;
                  Cut-off                       August 6, 2018;

          3.      Motion Hearing Cut-off:       August 27, 2018;

          4.      ADR Cut-off:                  September 11, 2018;

          5.      File Memo of
                  Contentions, etc.             October 16, 2018;

          6.      Lodge Pretrial Conference     October 23, 2018;
                  Order, etc.:

          7.      Final Pretrial Conference:    November 5, 2018;

          8.      Trial Date:                   December 4, 2018.


                                                       Very truly yours,


                                                          '-
                                                       Steven H. Haney

 SHH/fl
